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                                                                                                              E-FILED
                                                                        Thursday, 17 November, 2022 01:53:04 PM
                                                                                     Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS

DWIGHT LONG,                                         )
                                                     )
        Plaintiff,                                   )
                                                     )
        v.                                           )              No. 19-CV-3195
                                                     )              Honorable Judge Colin S. Bruce
TERRY MARTIN.                                        )
                                                     )
        Defendant.                                   )

                                      NOTICE OF DEPOSITION

TO: Terry Martin, by and through his Attorney of Record, Alan R. Taborga, of Office of the Illinois
    Attorney General, 1776 East Washington Street Urbana, Illinois 61802.
TO: Teri Sommer, Court Reporter Manager, Area Wide Reporting Service 301 West White Street
    Champaign, IL 61820

        PLEASE TAKE NOTICE that commencing at 9:30 a.m. on December 1, 2022, at the Office of

the Attorney General of Illinois, 3000 Montvale Drive, Springfield, Illinois 62704, Plaintiff will take the

Deposition of TERRY MARTIN.

        This deposition will be taken before a Court Reporter who is a Notary Public, authorized to

administer oath, and authorized by law to take the deposition. The deposition will be recorded by

stenographic means. You are requested to appear and answer questions proposed by the undersigned

pursuant to Federal Rule of Civil Procedure 30(b)(1).

                                                         Respectfully Submitted,

                                                         Dwight Long

                                                         By: /s/ Sara Trevino

                                                         By: /s/ Christopher Bailey

                                                             Attorneys for Dwight Long
                                                             Sara M. Trevino
                                                             Christopher Bailey
                                                             University of Illinois College of Law
                                                             Federal Civil Rights Clinic
                                                             504 E. Pennsylvania Avenue
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                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

DWIGHT LONG,                                      )
                                                  )
         Plaintiff,                               )
                                                  )
         v.                                       )             No. 19-CV-3195
                                                  )
TERRY MARTIN.                                     )
                                                  )
         Defendant.                               )

                               CERTIFICATE OF SERVICE

I hereby certify that on November 11, 2022, I electronically filed the above NOTICE OF

DEPOSITION OF DEFENDANT TERRY MARTIN with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing at the address of Defendant’s attorney

below:

Alan Remy Taborga
Assistant Attorney General, Prisoner Litigation
Office of the Illinois Attorney General
1776 East Washington Street
Urbana, Illinois 61802
Office: (217) 278-3332
Cell: (217) 843-0345
Email: alan.taborga@ilag.gov
                                                      Respectfully Submitted,

                                                      By: /s/ Sara Trevino

                                                      By: /s/ Christopher Bailey

                                                         Attorneys for Dwight Long
                                                         Sara M. Trevino
                                                         Christopher Bailey
                                                         University of Illinois College of Law
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